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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                  :
Brent Watkins,                                    :
                                                  :        Civil Action No.: 1:16-cv-10015
                       Plaintiff,                 :
       v.                                         :
                                                  :
Donna A. Daniels Law Offices, P.C.; and           :
DOES 1-10, inclusive,                             :
                                                  :
                       Defendant.                 :
                                                  :


                                    NOTICE OF DISMISSAL

       Brent Watkins (“Plaintiff”), by Plaintiff’s attorney, hereby voluntarily dismisses this

action, with prejudice, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

Dated: July 8, 2016

                                                      Respectfully submitted,

                                                      By: /s/ Sergei Lemberg

                                                           Sergei Lemberg, Esq.
                                                           BBO No.: 650671
                                                           Lemberg Law, L.L.C.
                                                           43 Danbury Road, 3rd Floor
                                                           Wilton, CT 06897
                                                           Telephone: (203) 653-2250
                                                           Facsimile: (203) 653-3424
                                                           Attorneys for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 8, 2016, a true and correct copy of the foregoing Notice of
Dismissal was served electronically by the U.S. District Court for the District of Massachusetts
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

Donna A. Daniels Law Offices, P.C.
1988 Centre Street
West Roxbury, MA 02132


                                             By: _/s/ Sergei Lemberg_________
                                                     Sergei Lemberg, Esq.
